                    Case 1:24-cv-00648-AA            Document 3            Filed 04/16/24   Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon


                      ARNAUD PARIS                            )
                                                              )
                                                              )
                                                              )
                           P/aintijf(s)                       )
                                                              )
                                V.
                                                              )       CivilActionNo.   i; '2,,tf.--(!.v- 0001/8-AA
                   HEIDI MARIE BROWN                          )
                                                              )
                                                              )
                                                              )
                          De[endant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) HEIDI MARIE BROWN
                                   2256 ABBOTT AVENUE
                                   ASHLAND, OR 97520




          A lawsuit has been filed against you.

          Within 21 days after service of this summons onyou (not counting the day you received it)-or 60 days if you
.are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of •
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: ARNAUD PARIS
                                  13 RUE FERDINAND DUVAL
                                  75004 PARIS, FRANCE




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This su=ons for (name ofindividual and title, ifany)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                        on (date)                ; or
          ----------------------                                                  ---------
          0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          -----------------
          on (date)   , and mailed a copy to the individual's last known address; or
                       --------

           0 I served the su=ons on (name of individual)                                                                    , who is
                                                                 -----------------
            designated by law to accept service of process on behalf of (name of organization)
                                                         on (date)           ; or
          ----------------------                                   ---------

          0 I returned the su=ons unexecuted because                              ; or
                                                     --------------------
           0 Other (specify):



           My fees are$                            for travel and $                  for services, for a total of$       0.00
                                                                      ------


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server's signature



                                                                                        Printed name and title




                                                                                           Server's address


 Additional information regarding attempted service, etc:
